Case 5:17-cv-00232-H.]B Document 58 Filed 04/09/19 Page 1 of 10

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

ANTWONIQUE MCKENZIE,
Plaintiff,
SA-l7-CA-232-HJB

V.

TRESSA MCKENZIE,

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Defendant.

MEMORANDUM OF DECISION,
FINDINGS OF FACT AND CONCLUSIONS OF LAW

A bench trial Was held in this case on March 28, 2019. The Court exercises jurisdiction in
this case pursuant to the consent of the parties. See 28 U.S.C. § 636(0). Pursuant to Federal Rule
of Civil Procedure 52(a), the Court enters this Memorandum of Decision, Findings of Fact and
Conclusions of Law. For the reasons set out below, the Court finds in favor of Defendant Tressa
McKenzie in this matter.

I. Background.

This case began as an interpleader action brought by Dearborn National Life Insurance
Company (“Dearborn”), pursuant to Federal Rule of Civil Procedure 22, 28 U.S.C'. § 1335, and the
Employee Retirernent Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1001 et seq'. (See
Docket Entry l, at 1.) Dearborn had issued a term life insurance policy (“the Policy”) to Aaron
McKenzie through his employer, Star Shuttle, Inc. (“Star Shuttle”). (Id.) The death benefit under
the policy Was $80,000. (Docket Entry 36, at 3.)

After Aaron McKenzie’s death, both Plaintiff and Defendant filed claims seeking life

insurance benefits. In light of the parties’ dispute, Dearborn filed this interpleader action. Both

Case 5:17-cv-00232-H.]B Document 58 Filed 04/09/19 Page 2 of 10

Plaintiff and Defendant filed answers making claimsto the proceeds. (Docket Entries 7, 8.) The
Court approved Dearborn’s interpleader request, dismissing it from the case and ordering that
proceeds from the Policy (less costs and reasonable attorney’s fees) be placed in the registry of the
Court. (Docket Entry 12.) Accordingly, the amount of $77,100 was placed in the Court’s registry
on July 31, 2017. (See Docket Entry 14.)

Both Plaintiff and Defendant testified at the trial before the Court. Additionally, three
defense exhibits Were admitted by stipulation. (See Docket Entries 53, 54.)

II. Findings of Fact.

The following findings include findings adapted from the parties’ stipulations at trial (see
Docket Entry 53) and proposed findings (Docket Entrics 56 and 57), as Well as the Court’s own
findings based on the trial evidence:

l . Antwonique McKenzie is Aaron McKenzie’s natural born daughter from his previous

marriage to Latasha Nicole Johnson (a/k/a Latasha Brown). The marriage ended in
divorce at some time before July 26, 2009.

2. Tressa McKenzie and Aaron McKenzie were married on July 26, 2009, and the

marriage was never subject to divorce or annulment.
3. Aaron McKenzie began working for Star Shuttle on October 12, 2009, and worked
there until November 11, 2016.

4. On or about May 20, 2016, Aaron McKenzie purchased the Policy from Dearbom
through Star Shuttle. A third party, Sun Life Financial, acted as the enroller for the
Policy. The Policy states that it is an “employee welfare benefit plan” as defined by

ERISA. (Trial Ex. 2; Docket Entry 31-2, at 46.)

Case 5:17-cv-00232-H.]B Document 58 Filed 04/09/19 Page 3 of 10

5. Premiums for the insurance Were deducted out of Aaron McKenzie’s employment

paycheck. As Aaron McKenzie purchased the Policy during his marriage to Tressa

McKenzie, he used community funds to pay the premiums of the Policy.

6. From approximately April to December 2016, Tressa and Aaron McKenzie were

living apart.
With regard to naming a beneficiary for death benefits, the Policy provides:

Who will receive Your Life Insurance Benefits?

Your beneficiary designation must be made on a form which We' provide or
on a form accepted by Us. If two or more beneficiaries are named, payment
of proceeds will be apportioned equally unless You had specified otherwise,
The Policyholder may not be named as beneficiary. Unless You provide
otherwise, if a beneficiary dies before You, We will divide that beneficiary’s

share equally between any remaining named beneficiaries

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Facility of Payment

If no named beneficiary survives You or if You do not name a beneficiary, We
will pay the amount of insurance:

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to Your spouse, if living; if not,

in equal shares to Your then living natural or legally adopted children, if any;
if none,

in equal shares to Your father and mother, if living; if not,
in equal shares to Your brothers and/or sisters, if living; if not,

to Your estate.

(Trial Ex. 2; Docket Entry 31-2, at 56 (italics and boldface in original)).

 

1 According to the Policy, “We, Our and Us means Dearbom,” and “You, Your and Yours”
refer to “the eligible Employee to whom this Certificate is issued and whose insurance is in force
under the terms of the Policy”_in this case, Aaron McKenzie. (See Trial Ex 2; Docket Entry 31-2,

at 76.)

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Case 5:17-cv-00232-H.]B Document 58 Filed 04/09/19 Page 4 of 10

F or purposes of the above Policy provisions, the term “form” is not defined.
However, Dearborn’s “Statement of ERISA Rights,” which was submitted in
evidence, indicates that a “fonn in writing” may include electronically submitted
documents. (Trial Ex. 2; Docket Entry 31-2, at 85.)

According to testimony in a deposition upon written questions given by Star Shuttle
records custodian Christina Carmen Casas, Antwonique McKenzie was the
designated primary beneficiary under the policy. The only source Casas could
identify for this information was a spreadsheet entry in Star Shuttle records indicating
that Antwonique McKenzie Was the beneficiary. (See Trial Ex. 2; Docket 33-1, at
8, 11-12, 19.)

Aaron McKenzie died on January 22, 2017.

Dearbom received two competing claims for death benefits under the Policy: one
claim from Tressa McKenzie, and another from Antwonique McKenzie.

After Aaron McKenzie died, Star Shuttle submitted to Dearbom the spreadsheet
showing the beneficiary designation of Antwonique McKenzie.

When presented With the spreadsheet designation, Dearbom asked Star Shuttle for
a designation form. According to an email written by Casas to Shea Wilson
(apparently a representative for the third-party enroller Sun Life Financial), Dearborn
asked to confirm “that there [was] no signed documentation that ties the beneficiaries
on the spreadsheets to the employee,” because “Dearborn does not see any
beneficiary information and can only process off of next of kin, which would be his

spouse if he had one.” (Trial Ex. 1; Docket Entry 33-1, at 44.)

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Case 5:17-cv-00232-H.]B Document 58 Filed 04/09/19 Page 5 of 10

ln response to the request from Casas, Wilson confirmed that there was no
designation form. Casas then instructed Wilson to advise Dearborn that “there is not
an enrollment form because employees met with enrollers and enrolled electronically.
The enrollment team only provided the beneficiary spreadsheet and confirmation
statement to employees.” (ld. at 49.) '

An e-mail from Casas to Wilson also suggested that, in Dearborn’s view, if an
employee is married and would like to list someone other his or her spouse as a
beneficiary, the employee would “need to get the spouse to sign [a] waiver [form].”
(Id. at 60.) Wilson confirmed that, since the enrollment was done online, there was
no form in Which Tressa McKenzie waived her rights to be the beneficiary and
allowed Antwonique McKenzie to be the beneficiary. (Id.) The parties stipulated
that no such form exists. (Docket Entry 53, at 1.)

When no form Was found in Star Shuttle’s records, Dearborn wrote to Tressa and
Antwonique McKenzie explaining that, if it could not “deterrnine who the
beneficiary is,” and the parties could not reach an agreement, it would let “the courts
decide.” (See, e.g., Trial Ex. 2; Docket Entry 31-2, at 26.) Tressa McKenzie agreed
to an equal division of the Policy proceeds; Antwonique McKenzie did not,

Accordingly, this action ensued.

III.

Case 5:17-cv-00232-H.]B Document 58 Filed 04/09/19 Page 6 of 10

Conclusions of Law.

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Venue is proper, and this Court has jurisdiction to decide the matters in dispute. See
28 U.S.C. § 63'6(0); 29 U.S.C. § ll32(e).

For employee welfare benefit plans such as the one in this case, ERISA supersedes
“any and all State laws insofar as they . . . relate to any employee benefit plan.” 29
U.S.C. § l l44(a). Thus, state law causes of action are barred if the state law claims
address areas of` exclusive federal concern, such as the right to receive benefits under
the terms of an ERISA plan; such “claims directly affect the relationship between the

9

traditional ERISA entities” including “participants and beneficiaries.’ Weaver v.
Employers Underwriters, Inc., 13 F.3d 172, 176 (5th Cir. 1994) (quoting Mem. Hosp.
Sys. v. Northbr'ook Life Ins. Co., 904 F.2d 236, 245 (5th Cir. 1990)).

Under ERISA, a beneficiary of a plan is defined as “a person designated by a .
participant, or by the terms of an employee benefit plan, who is or may become
entitled to a benefit.” 29 U.S.C. § 1002(8).

Under ERISA, the plan administrator is obliged to act in accordance with the
documents and instruments governing the plan insofar as such documents and
instruments are consistent with the applicable provisions of ERISA. See 29 U.S.C
§l 104(a)( l)(D). “ERISA provides no exemption from this duty when it comes time
to pay benefits.” Kennedy v. Plan Adm ’r for DuPont Sav. & Inv. Plan, 555 U.S. 285,

300 (2009). In this case, no argument has been made, and there is no basis upon

which to conclude, that the Policy a_t issue is inconsistent with ERISA.

Case 5:17-cv-00232-H.]B Document 58 Filed 04/09/19 Page 7 of 10

The Policy states that the participant may designate a beneficiary “0n a form which
[Dearborn] provide[s] or on a form accepted by [Dearbom].” (Docket Entry 36-1,
at 143.)

Aaron McKenzie did not submit a “form”--his enrollment and designation Were
processed electronically online and recorded in a spreadsheet maintained by a third-
party enroller. Nevertheless, the Court concludes that, at least in some
circumstances an electronic designation can qualify as a “forrn” for purposes of the
Policy. The term “form” is not defined in the policy, and Dearborn, in the statement
ofERISA rights provided to policyholders, indicates that written"‘forms” can include
electronically filed documents

Although electronic forms can qualify under the Policy in some circumstances, the
Court concludes that the designation of Antwonique McKenzie on a spreadsheet
created by a third-party enroller does not qualify as a designation form. The Policy
clearly requires that in whatever format, the form must be one Dearborn “provide[s]”
or one that is “accepted by” Dearborn. There is no evidence before the Court that
Dearborn provided the electronic spreadsheet designation; to the contrary, the
evidence makes clear that a third-party enroller provided it. Moreover, a clear
preponderance of the evidence demonstrates that the spreadsheet designation was not
“accepted by” Dearborn. To the contrary, according to the stipulated evidence,
Dearborn informed Star Shuttle that the spreadsheet designation was not acceptable:
it explained that it generally required “signed documentation that ties the

beneficiaries on the spreadsheets to the employee,” and indicated that, absent such

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Case 5:17-cv-00232-H.]B Document 58 Filed 04/09/19 Page 8 of 10

documentation, it could “only process off of next of kin, which would be [the
employee’s] spouse if he had one.”’ (Trial Ex. l; Docket Entry 33-1, at 44.)

The Court’s conclusion that Dearborn did not accept the electronic spreadsheet as a
designation form is bolstered by Dearbom’s conduct after receiving evidence of the
spreadsheet It advised the competing claimants that, if it could not “determine who
the beneficiary is,” it would, absent an agreement between the parties let “the courts
decide”; subsequently, it presented this case to the Court by way of interpleader. If
Dearborn had accepted the spreadsheet designation, it would not have had to advise
the claimants as to procedures when no determination is made. Nor would it have
had to present the case to this Court.

Given the clear requirements of the Policy, any testimony from Antwonique or Tressa
McKenzie as to Aaron McKenzie’s intentions regarding his beneficiary is not legally
determinative. Unless those intentions were expressed in a form provided by or
accepted by Dearbom, they are not controlling. For this reason, the Court has not
relied upon the testimony of either Antwonique or Tressa McKenzie in making its
determination here.

Similarly, the deposition testimony of Star Shuttle employee Casas as to the
purported identity of the designated beneficiary under the Policy is not determinative
The question before the Court is whether the designation was accepted by Dearborn,
not Star Shuttle. l l
Plaintiff argues, without citing authority, that-the Court has discretion to determine

that the electronic spreadsheet Was in “substantial compliance” with the terms of the

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Case 5:17-cV-00232-H.]B Document 58 Filed 04/09/19 Page 9 of 10

Policy. (See Docket Entry 56, at 6.) The “substantial compliance” rule is inapposite
to Plaintiff"s argument That rule applies not to the Court, but to persons
administering an ERISA plan. See White v. Life lns. Co. afN. Am., 892 F.3d 762,
769 (5th Cir. 2018). Under that rule, technical compliance by the plan administrator
is not required if the purposes of ERISA are met. See id.

Moreover, if the “substantial compliance” rule is applied to this case, it supports
Defendant’s position, not Plaintiff’ s The rule would require the Court to determine
whether, in refusing to accept the electronic spreadsheet and instead “letting the
Court decide,” Dearborn substantially complied with ERISA. lt would likewise have
to determine whether Dearborn substantially complied with ERISA by requiring a
signed consent form from a spouse before accepting a different beneficiary
designation, even if the Policy did not expressly require such consent. Cf 29 U.S.C.
§ 1055(c)(2) (requiring consent of spouse for preretirement survivor annuity plan).

The Court concludes that either such determination by Dearborn would be protected

under the “substantial compliance” rule.

Because Dearborn neither provided nor accepted the electronic spreadsheet as a form
designating a beneficiary, Aaron McKenzie did not “narne a beneficiary” under the
terms of the Policy. Accordingly, the Policy requires that the insurance benefit be

paid to Aaron McKenzie’s “spouse, if living.”

Case 5:17-cv-00232-H.]B Document 58 Filed 04/09/19 Page 10 of 10

14. Tressa McKenzie was Aaron McKenzie’s spouse at the time of his death;
accordingly, She is entitled to the death benefit under the Policy.3
15. At trial, the parties disputed who bore the burden of persuasion in this case. Neither
party has presented legal authority to support its position. However, given that the
relevant evidence was admitted by stipulation, and that the clear preponderance of
evidence shows that Dearborn did not accept a form designating Antwonique
McKenzie as the bencficiary, the Court concludes that its determination would be the
same regardless of who bore the burden at trial.
IV. Conclusion.
Because Antwonique McKenzie was not the properly designated beneficiary of the Dearborn
Policy, the benefits of the Policy must be paid to Aaron McKenzie’s surviving spouse, Tressa
McKenzie. Accordingly, Plaintiff"s claim for declaratory judgment under 28 U.S.C. § 2201(a) is
DENIED, and declaratory relief under that statute is GRANTED to Defendant The Clerk of Court
is DIRECTED to pay to Defendant $77,010, as deposited into the Court’s registry on July 31, 2017.
The Clerk of Court shall prepare a judgment consistent with this decision

It is so ORDERED.

sIGNED on Apri19, 2019. j€ M

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Uni d States Magistrate Judge

 

3 Although the Court did not rely on Tressa McKenzie’s testimony to reach this conclusion,
it notes that she testified, under oath, that she agreed with Aaron McKenzie on his deathbed to
distribute the benefits from the life insurance policy in accordance with his wishes Whether Tressa
McKenzie now acts in accordance with her husband’s deathbed wish is not a legal matter for thc
Court; it is a matter of conscience that she must decide for herself.

10

